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 1                                                             Hon. Richard A. Jones
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 5
                         UNITED STATES DISTRICT COURT
 6                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
 7

 8   DISPLAY TECHNOLOGIES, LLC,                     No. C17-1057 RAJ

 9                        Plaintiff(s),
                                                    STANDING ORDER FOR
10          v.                                      CIVIL CASES ASSIGNED TO
                                                    JUDGE RICHARD A. JONES
11   HTC AMERICA, INC.,
                                                    (Last Revised January 23, 2017)
12                        Defendant(s).

13
                              READ THIS ORDER CAREFULLY.
14                        IT CONTROLS THIS CASE AND DIFFERS
                      IN SOME RESPECTS FROM THE LOCAL RULES.
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16
         Plaintiff(s) must immediately serve this Order on all Defendant(s) along with
17
           the Summons and Complaint.
18
         If this case was assigned to this Court after being removed from state court,
19
           the Defendant(s) who removed the case must serve this Order on all other
20
           parties.
21
           This case has been assigned to Judge Richard A. Jones. To secure the just,
22
     speedy, and inexpensive determination of this action, counsel are ordered to
23
     familiarize themselves with the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”)
24
     and the Local Rules (“L.R.”) of the Western District of Washington.
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     STANDING ORDER FOR CIVIL CASES
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 1      1. Mandatory Chambers Copies: Mandatory chambers copies are required for
 2         all e-filed opposed motions, responses, replies, and surreplies, and all
 3         supporting documentation relating to opposed motions, responses, replies,
 4         and surreplies, regardless of page length.
 5      2. Service of Pleadings: Plaintiff must promptly serve the Complaint in
 6         accordance with Fed. R. Civ. P. 4 and file proof of service. Any defendant not
 7         timely served will be dismissed from the action. Any “Doe” or fictitiously
 8         named defendant who is not identified and served within 90 days after the
 9         case is filed will be dismissed pursuant to Fed. R. Civ. P. 4(m).
10      3. Temporary Restraining Orders and Injunctions: Parties seeking
11         emergency or provisional relief must comply with Fed. R. Civ. P. 65 and
12         L.R. 65.
13      4. Actions Invoking Subject Matter Jurisdiction Based on Diversity: The
14         burden of persuasion for establishing diversity jurisdiction rests on the party
15         asserting it and must be supported by competent proof. To determine a
16         corporation’s “principal place of business” for the purposes of diversity
17         jurisdiction, the Court will apply the “nerve center” test, which was adopted
18         by the U.S. Supreme Court in Hertz Corp. v. Friend, 559 U.S. 77 (2010).
19         The “nerve center” test looks to the single location where the “corporation’s
20         high level officers direct, control, and coordinate the corporation’s activities.”
21         Id. at 80. The “nerve center” will typically be the corporation’s headquarters,
22         provided that the headquarters is the actual center of direction, control, and
23         coordination, and not simply an office where the corporation holds its board
24         meetings. Id. at 81. Further, the court reminds plaintiffs that they must allege
25         the citizenship of each owner/member of any defendant that is a limited
26         liability company. See Johnson v. Columbia Props. Anchorage, LP, 437 F.3d


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 1         894, 899 (9th Cir. 2006) (“We therefore join our sister circuits and hold that,
 2         like a partnership, an LLC is a citizen of every state of which its
 3         owners/members are citizens.”). If a party seeks to remove an action to this
 4         Court on the basis of diversity in a case where it is not clear from the
 5         Complaint that more than $75,000 is in controversy, the removing party must
 6         prove by a preponderance of the evidence that the amount in controversy
 7         meets the jurisdictional threshold. Matheson v. Progressive Specialty Ins.
 8         Co., 319 F.3d 1089, 1090 (9th Cir. 2003). The Court will consider facts
 9         presented in the removal petition as well as any summary-judgment-type
10         evidence relevant to the amount in controversy at time of removal. Id.
11         Conclusory allegations as to the amount in controversy are insufficient. Id.
12         Parties must file an Amended Complaint or Amended Notice of Removal
13         within fifteen days from the date the action is assigned to Judge Jones if
14         there is a doubt as to whether they have established the citizenship of the
15         parties or whether they have established the amount in controversy. Failure
16         to comply may result in dismissal or remand.
17      5. Meet and Confer Requirement: For all cases, except applications for
18         temporary restraining orders, counsel contemplating the filing of any motion
19         shall first contact opposing counsel to discuss thoroughly, preferably in
20         person, the substance of the contemplated motion and any potential
21         resolution. The Court construes this requirement strictly. Half-hearted
22         attempts at compliance with this rule will not satisfy counsel’s obligation.
23         The parties must discuss the substantive grounds for the motion and attempt
24         to reach an accord that would eliminate the need for the motion. The Court
25         strongly emphasizes that discussions of the substance of contemplated
26         motions are to take place, if at all possible, in person. All motions must


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 1             include a declaration by counsel briefly describing the parties’ discussion and
 2             attempt to eliminate the need for the motion and the date of such discussion.
 3             Filings not in compliance with this rule may be stricken.
 4      6. Applications to Seal Documents: It is the Court, not the parties, that
 5             determines whether a document can be filed under seal. The Court will only
 6             permit filings under seal if the party seeking to seal the information
 7             demonstrates why the public’s traditional right of access to court documents
 8             and the public policies favoring disclosure are outweighed by good cause (if
 9             the motion is not case-dispositive) or compelling reasons (if the motion is
10             case-dispositive or the information is included in the operative complaint)
11             that support keeping the information under seal. The fact that a party has
12             designated a particular document “Confidential” is not sufficient to convince
13             the Court that good cause or compelling reasons exist to seal that document.
14      7. Attorney’s Fees Motions: All motions seeking attorney’s fees must be
15             accompanied by an appropriate declaration that attaches all relevant
16             timesheets and costs.
17      8. Discovery and Initial Disclosures: The parties shall not file initial
18             disclosures and other discovery on the court’s docket, unless such discovery
19             is the subject of a motion.
20      9. Legal Citations: All motions, oppositions, and replies must be supported by
21             relevant legal authority. Citations should be in Blue Book format and must
22             be included in the body of the briefing – the Court does not allow citations in
23             footnotes or endnotes.
24      ///
25      ///
26      ///


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 1      10. Searchable PDFs: All documents filed electronically must be submitted in
 2          PDF format to permit text searches and to facilitate transmission and
 3          retrieval. Before these documents are electronically filed, the CM/ECF User
 4          shall convert the documents to PDF format. These documents may not be
 5          scanned.
 6
            Failure to comply with this Order may result in sanctions. The Local Rules
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     and Federal Rules of Civil Procedure control any issue not specifically addressed in
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     this Order. The Court thanks counsel and the parties for their anticipated
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     cooperation. Counsel are advised to check the Court’s procedures regularly, as they
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     are subject to change.
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12          DATED this 21st day of August, 2017.
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15
                                                      A
                                                      The Honorable Richard A. Jones
                                                      United States District Judge
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     STANDING ORDER FOR CIVIL CASES
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